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                        UNITED STATES DISTRICT COURT FOR THE
                            SOUTHERN DISTRICT OF FLORIDA
                                    Miami Division

                              Case Number: 20-21652-CIV-MORENO

  SYMBOLOGY INNOVATIONS, LLC,

                 Plaintiff,
  vs.

  CELEBRITY CRUISES, INC.,

                 Defendant.
 _________________________________________/

                    ORDER DISMISSING CASE WITHOUT PREJUDICE

        THIS CAUSE came before the Court upon a sua sponte review of the record.

        THE COURT has considered the pertinent portions of the record, the last recorded date of

 various proceedings, and is otherwise fully advised in the premises.

        On July 9, 2020, the Court issued an Order to Show Cause why the complaint in this case

 had not been served in compliance with Federal Rule of Civil Procedure 4(m). (See D.E. 5.)

 Plaintiff filed a response with the Court the same day and explained that it attempted but failed to

 personally serve Defendant on April 29, 2020 because the office of Defendant’s registered agent

 was closed due to the COVID-19 pandemic. (D.E. 6 at 1.) Plaintiff’s response further explained

 that it attempted to notify Defendant of this lawsuit by sending a copy of the complaint and a

 waiver of service of summons to Defendant’s registered agent via U.S. Certified Mail with return

 receipt requested. Id. As of the Plaintiff’s response, however, the USPS Certified Mail green card

 had not been returned to counsel for Plaintiff and USPS’s automated phone service indicated that

 the package was “in transit.” Id. at 1–2. Plaintiff’s response concluded with “the impression that

 Defendant has not been served, despite its numerous attempts.” Id. at 2.
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         To date, Plaintiff still has not docketed a return of service. Nor has Plaintiff requested an

 extension of time to serve Defendant. Because Plaintiff filed the complaint on April 20, 2020, and

 service of the summons and the complaint has not been executed as of the date of this Order, it is

        ADJUDGED that this case is DISMISSED WITHOUT PREJUDICE for failure to serve

 the summons and the complaint in compliance with Federal Rule of Civil Procedure 4(m). The

 Clerk of Court shall mark this case CLOSED.

        DONE AND ORDERED in Chambers at Miami, Florida, this 21st of July 2020.




                                       ______________________________________
                                             FEDERICO A. MORENO
                                             UNITED STATES DISTRICT JUDGE
 Copies furnished to:

 Counsel of Record




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